                            UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF LOUISIANA

KASUNDRA K. JOYCE and WENDY G.                      *    CIVIL ACTION
ENRIQUEZ,                                           *
                                                    *    NO. 20 – 03193 – EEF - DPC
                             Plaintiffs             *
VS.                                                 *    SECTION “ L ” ( 2 )
                                                    *
AVA M. DEJOIE , in her official capacity as         *    JUDGE ELDON E. FALLON
Secretary of the Louisiana Workforce                *
Commission                                          *    MAGISTRATE JUDGE
                                                    *    DONNA PHILLIPS CURRAULT
                        Defendant                   *
****************************************


                 PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS

                                          Introduction

       Defendant’s arguments to dismiss the suit misconceive Plaintiffs’ case in two

fundamental ways.

       First, defendant claims that Plaintiffs’ claims concern the state’s implementation of

federal Pandemic Unemployment Assistance (PUA), and that both Plaintiffs were terminated

from PUA. (Memorandum at 1-3.) Since that program has ended it is alleged that the Plaintiffs’

claims have ended.

       But Plaintiff Wendy Enriquez was not terminated from PUA. She was terminated from

state Unemployment Insurance.

       Plaintiffs’ Complaint did explain Pandemic Unemployment Assistance (“PUA”), which

was an addition to the longstanding state unemployment assistance program for most of 2020

and 2021. But Plaintiffs’ claims do not hinge on the existence or parameters of PUA. Instead,

Plaintiffs’ claims concern the lack of pretermination notice and opportunity to respond when

Louisiana unemployment compensation is terminated.


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       Second, the motion to dismiss rests on the theory that events have mooted Plaintiffs’

claims, and Plaintiffs lack standing unless they show that their issues are capable of repetition

but evading review. This argument, too, misses the mark.

       The Plaintiffs were denied pretermination notice and opportunity to respond before their

unemployment compensation was terminated. They both were still without benefits and a

hearing by the time the complaint was filed. As set out in Plaintiffs’ Motion for Partial Summary

Judgment, the Defendant itself altered the situation and took the actions that it alleges mooted

their claims. It reinstated their unemployment compensation after suit was filed.

       Where the defendant through its actions purports to moot a claim, the courts look on the

actions with skepticism, and through a different lens that places the burden of proof on the

defendant to establish that the actions cannot recur. Courts look for commitments by the

defendant that show permanence or commitment to its change of position. No such commitment

is presented here.

       Therefore both attempts to establish mootness fail.

                                               Facts

       The named plaintiffs, Kasundra Joyce and Wendy Enriquez, were employed before the

pandemic, but both lost employment because of the pandemic. Complaint ¶¶ 8, 38-39, 67. Both

were found eligible for and were being paid unemployment compensation. Complaint ¶¶ 9, 42,

68.

       Ms. Joyce was being paid Pandemic Unemployment Assistance under the new and

temporary program created by the federal government in response to the pandemic. Complaint ¶

42. Ms. Enriquez was being paid regular state unemployment compensation. Complaint ¶ 68-69,

72.




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         The Louisiana Workforce Commission (LWC) unexpectedly stopped paying

unemployment compensation for both of them, one in July, and the other in August. ¶¶ 46-49

(Ms. Joyce); 72-79 (Ms. Enriquez). LWC did so without providing them with a reason why it

intended to do so, or even a notice and opportunity to respond when it stopped the payments.

Complaint ¶¶ 10, 47, 49, 73, 77.

         Both Ms. Joyce and Ms. Enriquez went without unemployment compensation for months

before the suit was filed. Complaint ¶¶ 11, 59, 90-91. Neither had been given their

administrative hearing to challenge the denial by the time the suit was filed. Complaint ¶¶ 59,

90-91.

         As a result, they filed this suit to challenge the state’s procedures in terminating

unemployment compensation without notice or an opportunity to respond to alleged reasons for

termination before a termination is effectuated.

         When suit was filed, the defendant agency, LWC, administered both regular state

unemployment compensation and Pandemic Unemployment Assistance; a single application is

judged for both eligibilities. Complaint ¶¶ 84-86.

         The agency allows staff to cut off eligibility for weeks or months without sending out a

notice giving reasons and offering the opportunity for a fair hearing. Complaint ¶¶ 5, 92, 100.

Even once that notice is sent and a fair hearing is requested, it takes months before most fair

hearings are heard. Complaint ¶¶ 93-94. LWC makes no special provision to expedite the

hearings of persons whose unemployment compensation has been terminated. Complaint ¶ 95.

         Defendant has admitted that LWC has no computer programming to prevent suspension

of unemployment compensation without notice, no policy setting out a time by which a notice

must issue, no hard stops in its systems to require issuance of a notice or resumption of payment




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within any specific time period, and no policy against a single staff member suspending

compensation based on that staff member’s initial conclusion of ineligibility without a second

opinion. (Rec Doc 23-6, Admissions 1, 3-6; Rec Doc 23-7, Interrogatory responses ## 1, 2;

Request for Production Responses ## 7, 9, 10.)

                                               Procedural Posture

         Plaintiffs have stipulated for the purpose of this motion that they received all the benefits

to which they are entitled. (This includes the fact that neither Plaintiff is currently receiving

unemployment compensation.) The Stipulation was not limited to “Pandemic Unemployment

Assistance.”

         The Defendant claims to have “vacated its reservation of rights to seek reimbursement of

sums paid (i.e., overpayment assessments).” Memorandum at 6. Such protection for the Plaintiffs

has not occurred. Instead, it was a term discussed in the very brief settlement negotiations

Defendant has entertained. But no settlement or protection was ever put in place.

         Unaddressed by the informal relief granted by the LWC are Plaintiffs’ claims for policy

relief numbered 3-5 at p. 15 of the Complaint, asking that the Court:

         3. Declare defendant’s procedures in reversing claimants’ previously determined
         eligibility for unemployment compensation without advance notice of the reason and an
         opportunity to contest to be illegal.
         4. Enjoin defendant from reversing claimants’ previously determined eligibility for
         unemployment compensation without advance notice of the reason and an opportunity to
         contest.
         5. Order defendant to revise its regulations, policies, and procedures accordingly.

Defendant correctly observes that these three claims “are asserted on behalf of ‘claimants’

generally,” rather than just the Plaintiffs. (Memorandum at 6.)1


1LWC notes that the suit is not filed as a class action, Id., perhaps suggesting but not stating that the lack of a class
allows the agency to carry on violating the law for others, so long as the agency has mooted the claims of anyone
who filed suit. Defendant makes no argument that the absence of a class is dispositive. So there is no need to cite the


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         Plaintiffs have noticed a cross-motion for Partial Summary Judgment to be submitted for

the same date as this motion. The motion evidences that Plaintiffs have been terminated without

the agency issuing contemporaneous notice, reasons, and appeal rights when it stopped their

unemployment benefits. For Ms. Enriquez, notice issued three weeks later. For Ms. Joyce, notice

did not issue until over three months after her unemployment compensation was terminated.

Once given the chance, each filed an administrative appeal from their July or August

termination. Neither had received a hearing by the time suit was filed in late November.

         Plaintiffs’ motion claims they are entitled to judgment based on the violation of due

process requirements. If Plaintiffs prevail on that motion, the agency must revise its notice

requirements. Those revisions could include pretermination opportunity to respond to a notice

that sets out the basis for the agency’s proposed termination, the remaining issue in the case.

                                                     Argument

         The Court must assess its jurisdiction before issuing relief. So Plaintiffs’ primary

explanation of why the Court has continuing jurisdiction of the case is set out in their

Memorandum in Support of Plaintiffs’ Motion for Partial Summary Judgment. Rec. Doc. 23-2,

particularly §§ A, E, and F, pp. 7-12, 21-24. This Opposition responds to Defendant’s arguments

for dismissal.

         Defendant introduces its Mootness argument with the very appealing statement that

“Mootness is the doctrine of standing in a time frame.” Memorandum at 4. This expression does

come from Supreme Court cases. But the Court itself has walked away from the expression

because it errantly confuses two doctrines with distinct requisites:

                  [T]he Court of Appeals confused mootness with standing. The confusion
                  is understandable, given this Court's repeated statements that the doctrine

authorities showing that the Court is empowered to grant such relief even in the absence of a class. Plaintiffs’
Memorandum in Support of Motion for Partial Summary Judgment §F, Rec. Doc. 23-2, pp. 23-24,.


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               of mootness can be described as “the doctrine of standing set in a time
               frame”… [But] the description of mootness as "standing set in a time
               frame" is not comprehensive.

Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 189-190 (2000)

(quoting Arizonans for Official English v. Arizona, 520 U.S. 43, 68, n. 22 (1997); United States

Parole Comm'n v. Geraghty, 445 U.S. 388, 397 (1980)).

       Defendant then states, “[A]ny set [of] circumstances that eliminates actual controversy

after the commencement of a lawsuit renders that action moot,” citing In re Oil Spill by Oil Rig

Deepwater Horizon, 792 F.Supp 2d 926, 931 (E.D. La. 2011), aff’d in part, rev'd in part sub

nom. Ctr. for Biological Diversity, Inc. v. BP Am. Prod. Co., 704 F.3d 413 (5th Cir. 2013).

Memorandum at 4.

       But rather than say “Any set of circumstances that eliminates actual controversy…” the

cited case qualifies the statement, saying instead “Generally, any set of circumstances that

eliminates actual controversy…” (emphasis added). The Fifth Circuit case Defendant cites just

before the quote also makes the same qualified statement, and goes on to state “There are,

however, exceptions to the operation of the mootness doctrine.” Center for Individual Freedom

v. Carmouche, 449 F.3d 655, 661 (5th Cir. 2006). The Fifth Circuit, in fact, found jurisdiction

based on one of those exceptions. Four of the six cases cited by Defendant in this initial passage

overruled challenges to jurisdiction.

       The instant suit is easily distinguished from the other two. In re Oil Spill by Oil Rig

Deepwater Horizon, 792 F.Supp 2d 926, 931 (E.D. La. 2011), aff’d in part, rev'd in part sub

nom. Ctr. for Biological Diversity, Inc. v. BP Am. Prod. Co., 704 F.3d 413 (5th Cir. 2013),

concerned a one-time event. And Allen v. Wright, 468 U.S. 737 (1984), found the harm of




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children being educated in racially segregated schools was not fairly traceable to the lone fact of

the IRS granting tax exempt status to private segregation academies.

       Defendant’s Memorandum goes on to confuse the requirements for standing and

mootness, thereby misanalyzing the status of this case.

   A. Plaintiffs meet the requirements for standing

       Defendant raises the issue of standing, and claims Plaintiffs lack standing because

Defendant has now paid the Plaintiffs all unemployment compensation they are due. Each

argument heading is phrased in terms of standing, after discussion of the Rule 12(b)(1) standard

of review. Similarly, most of the cited cases concern standing. But Defendant’s concerns about

mootness are not properly assessed under the rubric of standing.

   1. Standing is judged when the complaint is filed, not by post-complaint events.

       Standing and mootness are separate doctrines, though sometimes understandably

confused. Standing is judged strictly by plaintiffs’ status when the suit was filed. This even

though the proof required to establish standing escalates through the litigation, from allegations

in the complaint, contested facts to survive against a summary judgment motion, and then

preponderance of evidence to ultimately prevail.

       Thus, for standing, the inquiry is not what has happened to plaintiffs since filing, but

what plaintiffs’ status was when suit was filed.: “While the proof required to establish standing

increases as the suit proceeds, …the standing inquiry remains focused on whether the party

invoking jurisdiction had the requisite stake in the outcome when the suit was filed.” Davis v.

FEC, 554 U.S. 724, 734 (2008) (emphasis added) (citing Lujan v. Defenders of Wildlife, 504 U.S.

555, 561 (1992); Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167,

180 (2000); Arizonans for Official English v. Arizona, 520 U.S. 43, 68 (1997)). See also Carr v.

Alta Verde Indus., Inc., 931 F.2d 1055, 1061 (5th Cir. 1991) (“As with all questions of subject


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matter jurisdiction except mootness, standing is determined as of the date of the filing of the

complaint, and subsequent events do not deprive the court of jurisdiction.”)

        In Davis, the Supreme Court found standing to exist based on the plaintiffs’ status when

the complaint was filed, and went on to separately find no mootness, based on the capable of

repetition but evading review doctrine. In Carr, the Fifth Circuit reversed dismissal because

standing was met when the suit was filed and “defendant must adduce evidence from which it is

‘absolutely clear that the allegedly wrongful behavior could not reasonably be expected to

recur.’” Carr v. Alta Verde Indus., Inc., 931 F.2d 1055, 1065 (5th Cir. 1991) (emphasis added)

(quoting Gwaltney of Smithfield v. Chesapeake Bay Found., 484 U.S. 49, 66 (1987) and United

States v. Concentrated Phosphate Export Ass'n, 393 U.S. 199, 203 (1968)).

    2. Plaintiffs met the requirements for palpable injury, causation, and redressability
       when suit was filed.

        Defendant correctly sets out the three elements of standing at their p. 4: (1) injury-in-fact,

(2) fairly traceable to defendant’s challenged conduct (3) that is likely to be redressed by a

favorable judicial decision. Ms. Joyce and Ms. Enriquez unequivocally met this standard when

the suit was filed.

        As to injury in fact, both were suffering a tangible monetary loss from being terminated

from unemployment compensation, and that termination was ongoing when the suit was filed.

Complaint ¶¶ 11, 23, 47-48, 73-74, 96.

        As to causation, the injury was directly traceable to Defendant’s challenged conduct.

Each Plaintiff was terminated from unemployment compensation without notice or

pretermination process. Complaint ¶¶ 5, 47, 73. And that defective process apparently caused

erroneous terminations, in that, as alleged in Defendant’s motion, LWC reinstated their

unemployment compensation after the suit was filed.



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       Finally, the complaint also addressed redressability, alleging, reasonably enough, that

improved procedures could prevent erroneous terminations without pretermination process.

Complaint ¶¶ 5-6. Both Plaintiffs still had more weeks remaining to be paid on their claim. Both

stood to benefit from reinstatement and corrected procedures. Complaint ¶ 99.

       Thus, Defendant’s attack on Plaintiffs’ “standing” is misdirected. Similarly, its reliance

on cases about standing is misplaced.

   B. The suit is not mooted by Defendant’s action, unaccompanied by any commitment
      to run its program differently in the future.

       Since standing is judged at the moment the complaint is filed, and mootness comes about

because of events after a complaint is filed, mootness is necessarily a somewhat different

inquiry.

       The correct framework for assessing mootness is set out in Plaintiffs’ Motion for Partial

Summary Judgment, Argument § A, Rec. Doc. 23-2 at 7-12. The key point is that when the

defendant causes the alleged mootness, the Court is to be protective of its jurisdiction.

Jurisdiction is not defeated unless the defendant “bears the formidable burden of showing that it

is absolutely clear the allegedly wrongful behavior could not reasonably be expected to recur.”

Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 190 (2000) (citing

United States v. Concentrated Phosphate Exp. Ass'n, 393 U.S. 199, 203 (1968)). As set out in

Plaintiffs’ summary judgment memorandum, this burden is usually met by establishing not just

that the situation initially presented to the Court is resolved, but that policies or practices have

been changed so that it cannot recur. Rec. Doc. 23-2 at 10-12.

       A case is recognized as moot only if “subsequent events [have made] it absolutely clear

that the allegedly wrongful behavior could not reasonably be expected to recur.” A defendant




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claiming mootness bears the “formidable burden” of making this showing. Friends of the Earth,

Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 190 (2000).

       “In general, ‘a defendant's cessation of a challenged practice does not deprive a federal

court of its power to determine the legality of the practice,' even in cases in which injunctive

relief is sought.’” Speech First, Inc. v. Fenves, 979 F.3d 319, 328 (5th Cir. 2020) (quoting Meza

v. Livingston, 607 F.3d 392, 399-400 (5th Cir. 2010) and City of Mesquite v. Aladdin's Castle,

Inc., 455 U.S. 283, 289 (1982)).

       The exception is “when a government entity assures a court of continued compliance, and

the court has no reason to doubt the assurance . . . the voluntary cessation doctrine does not

apply.” Miraglia v. Bd. of Supervisors of Louisiana State Museum, 901 F.3d 565, 572 (5th Cir.

2018). Courts assume that “formally announced changes to official governmental policy are not

mere litigation posturing” unless evidence is presented to the contrary. Yarls v. Bunton, 905 F.3d

905, 911 (5th Cir. 2018) (emphasis added); see also Moore v. Brown, 868 F.3d 398, 407 (5th Cir.

2017). Where, however, governmental actors ground their mootness arguments on post-

complaint actions that do not involve announcements of formal policy changes, courts often

refuse to allow defendants to destroy jurisdiction.

       A “presumption of future injury” exists when a defendant has “voluntarily ceased” a

challenged practice “in response to litigation.” Friends of the Earth, Inc., 528 U.S. at 191

(quoting Steel Co. v. Citizens for a Better Env't, 523 U.S. 83, 109 (1998)). “Defendant-induced

mootness” is viewed “with caution” and courts within the Fifth Circuit consider subsequent

remedial actions allegedly taken to obviate a cause of action to “strongly mitigate against a

finding of mootness.” Yarls, 905 F.3d at 910; see also Smith v. Young Men's Christian Ass’n of

Montgomery, Inc., 462 F.2d 634, 645 (5th Cir. 1972). Thus, “[a]llegations by a defendant that its



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voluntary conduct has mooted the plaintiff’s case require closer examination than allegations that

‘happenstance’ or official acts of third parties have mooted the case.” Yarls, 905 F.3d at 910

(quoting Envt'l Conservation Org. v. City of Dallas, 529 F.3d 519, 528 n.4 (5th Cir. 2008))

(internal citations and quotations omitted).

       For example, in Uptown Grill, LLC v. Shwartz, No. 13-6560, 2021 U.S. Dist. LEXIS

15102 (E.D. La. Jan. 27, 2021) (Milazzo, J), this Court denied a motion to dismiss and granted

partial relief, where a restaurant infringing on trademarks had been closed by defendant, because

without a judgment nothing prevented the defendant from opening a new restaurant that would

infringe again. The court noted that, “The bar to overcome mootness is lower than the bar to

establish standing: ‘there are circumstances in which the prospect that a defendant will engage in

(or resume) harmful conduct may be too speculative to support standing, but not too speculative

to overcome mootness.’” Id at *38 (quoting Cain v. City of New Orleans, 281 F. Supp. 3d 624,

641 (E.D. La. 2017), aff'd sub nom. Cain v. White, 937 F.3d 446 (5th Cir. 2019) (quoting Friends

of the Earth, Inc., 528 U.S. at 190)). “It is thus ‘well settled that a defendant’s voluntary

cessation of allegedly illegal conduct does not moot the controversy arising from the challenged

activity.’” Id. at *38 (quoting Donovan v. Cunningham, 716 F.2d 1455, 1461 (5th Cir. 1983)).

       Plaintiffs’ memorandum in support of partial summary judgment provides instances

where defendants claimed they would not engage in the challenged conduct again. But because

compliance was not formalized in policies, the assurances were judged inadequate to moot the

controversy. Rec. Doc. 23-2 at 10-11. Those cases include a recent one from this Section. Caliste

v. Cantrell, 329 F.Supp.3d 296, 306 (E.D.La. 2018)(Fallon, J) aff’d on other grounds, 937 F.3d

525 (5th Cir. 2019). Here Defendant does not even allege that it is disavowing the challenged

practices.




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   C. The cases cited by the Defendant do not undermine the Court’s continuing
      jurisdiction as set out above.

       Defendant cites Price v. Mich. Unemployment Ins. Agency, No. 20-12756, 2021 U.S.

Dist. LEXIS 45367 (E.D. Mich. Mar. 11, 2021) at p. 5 n.24. This case would seemingly be

relevant because it concerns Pandemic Unemployment Assistance. But in it the plaintiff sought

only the PUA benefits he claimed to have been improperly denied. Before suit, he had been

certified for PUA but never paid. After service of the suit, his benefits began, and his suit sought

no other relief –neither damages nor injunctive relief: “The relief his complaint seeks is simply

payment of the PUA benefits he is entitled to.” Id. at *3. The pro se claimant made no

appearance to defend against the motion to dismiss. As a result, those case facts differ from this

suit which, as described above, challenges policies of the Defendant and seeks policy changes.

And the discussion about jurisdiction was dicta in that case. As the court stated, “The Court

could grant the motion on this ground alone since Price's failure to respond means he has waived

any potential arguments.” Id.

       Also seemingly relevant in that it is a Pandemic Unemployment case, is Payne v. Dep’t of

Emp., Training & Rehab, 494 P.3d 901 (Nev. 2021), 2021 WL 4167928, 2021 Nev. Unpub.

LEXIS 652, cited in Defendant’s Memorandum at 7. That case, too, does not speak to whether

current Plaintiffs’ case is moot.

       First and foremost, the federal framework for dealing with a defendant’s voluntary

cessation of challenged conduct is not discussed in the state court opinion. Second, plaintiffs in

the case waived any argument as to whether the court could address relief that would affect third

parties: “appellants …made no argument until their reply brief on appeal that, as individuals,

they should be allowed to assert the rights of third parties.” Id. at 2021 Nev. Unpub. LEXIS

652 *5 (citing a Nevada state court case about waiver of issues not raised in the opening brief).



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Further, no systemic deficiencies were challenged. Instead, problems stemmed from a unique

“processing ‘glitch.’” Id. at 6.

        Finally and crucially, the Nevada lower court had issued relief on one of the issues that

this instant suit raises: termination of benefits without a pretermination hearing. This relief was

reversed because “appellants did not allege that DETR had wrongfully terminated their own

payments.” Id. at 7. In contrast, it is alleged in the complaint and evidenced with respect to the

summary judgment motion that Ms. Joyce’s and Ms. Enriquez’s unemployment payments were

terminated without contemporaneous notice or pretermination opportunity to respond to any

charges.

        Defendant criticizes that Plaintiffs have not shown a prospect of repetition, Memorandum

at 8, citing Clapper v. Amnesty Int'l USA, 568 U.S. 398 (2013) and Monsanto Co. v. Geerston

Seed Farms, 561 U.S. 139, 149 (2010). The terms moot and mootness do not appear in either of

these cases.

        Both cases instead concern standing, presenting arguments that the plaintiffs lacked any

injury in fact, or “certainly impending” prospect of injury. Ms. Joyce and Ms. Enriquez’s loss of

unemployment compensation when suit was filed amply satisfies the injury in fact test.

        As set out above, standing and mootness analyses differ. As also set out, where a

defendant’s own conduct purportedly mooted a case, the correct frame for review is the

voluntary cession of challenged conduct, under which it is the defendant’s “formidable burden of

showing that it is absolutely clear the allegedly wrongful behavior could not reasonably be

expected to recur.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167,

190 (2000) (citing United States v. Concentrated Phosphate Exp. Ass'n, 393 U.S. 199, 203

(1968). LWC has not attempted to shoulder or meet that burden.




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       Workers lose jobs all the time, and the idea that a low wage worker will never draw

unemployment compensation again is more improbable.2 One’s ability to avoid unemployment

can be even more uncertain in Louisiana, where tens of thousands were recently plunged into

unemployment following Hurricane Ida.3

       As another example, the Complaint sets out that the Plaintiff Kasundra Joyce had

received unemployment compensation before and would likely receive it again. ¶¶ 60-61.

       Undersigned counsel advised at the September 20 Status Conference that, as the facts

have played out, Plaintiffs’ contention is that the exception to mootness is based on the

Defendant’s voluntary cessation of the conduct at issue. Plaintiffs’ complaint does refer to the

capable of repetition but evading review doctrine. ¶¶ 100-101. Plaintiffs could not have pled

voluntary cessation of the conduct in the complaint, because it had not occurred by then, and

there was no way to be certain it would occur. After filing, Defendant receded from the

challenged conduct, but did nothing to prevent the situation from arising again. There has been

no change to policies.

       Defendant claims, Memorandum at 9, that “the facts demonstrate that Plaintiffs’

complaints arose out [of] exceptional circumstances – i.e., the LWC’s administration of federal

aid in the wake of an unprecedented pandemic and its laudable efforts to get PUA benefits into

the hands of claimants as quickly as possible, given most claimants’ dire circumstances.”

Defendant then argues that “[i]solated actions do not fall under an exception to mootness,” at p.


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  See, e.g., BUREAU OF LABOR STATISTICS, Repeat use in the U.S. unemployment insurance
system, Monthly Labor Review, (Sept. 2014) https://www.bls.gov/opub/mlr/2014/article/repeat-
use-in-the-u-s-unemployment-insurance-system.htm (“more than half of recipients on temporary
layoff and nearly a third of displaced recipients became repeat users, that is, started a new UI
claim within a year of the end of their initial claim.”)
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  See e.g., Austin Kemker, 30,000 apply for disaster unemployment; LWC deploys mobile unit to
help, WAFB.COM (Sept. 20, 2021) https://www.wafb.com/2021/09/20/30000-apply-disaster-
unemployment-lwc-deploys-mobile-unit-help

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10, quoting Libertarian Party v. Dardenne, No. CIV A 08-582-JJB, 2009 WL 790149, at *1

(M.D. La. Mar. 24, 2009), aff'd, 595 F.3d 215 (5th Cir. 2010). Again, Defendant claims the

events are isolated because Pandemic Unemployment Assistance has ended.

       That the problems at issue are caused by Pandemic Unemployment Assistance is neither

a fact shown in the record nor pled. Nothing in Plaintiffs’ Complaint limits the circumstances

to PUA or a pandemic. Indeed, as set out in the complaint, the PUA program was implemented

using the same application process as the state’s longstanding unemployment compensation

program. Rec. Doc. 1, Complaint ¶¶ 7, 17, 85-86, 97.

       Instead, the complaint at ¶7 alleges, “the pandemic has brought to light a longstanding

shortcoming in our state’s unemployment system, in allowing claimants’ benefits to be

terminated without predeprivation due process.” (Emphasis added.) “It is the way Louisiana’s

agency has designed its unemployment compensation system.” Id. at ¶5. Similarly, in their

partial summary judgment motion, Plaintiffs show that there is a lack of computer programming

or policies to prevent terminations without notice, no deadline in state policies as to how soon

after a termination notice must issue, no review by a second person is required, and the agency

does not even know which employees have the power to perform such terminations. None of this

is related to the existence of PUA or the pandemic. (Rec Doc 23-6, Admissions 1, 3-6; Rec Doc

23-7, Interrogatory responses ## 1, 2; Request for Production Responses ## 7, 9, 10.)

       Further, the second Plaintiff, Ms. Enriquez, was subjected to the challenged termination

without notice or pretermination opportunity to respond while on state unemployment assistance,

not Pandemic Unemployment Assistance. Rec. Doc. 1, Complaint ¶¶ 68, 72.

                                           Conclusion




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        Defendant misses the mark in arguing that Plaintiffs’ suit hinges on the events of the

pandemic or Pandemic Unemployment Assistance. Similarly, its challenge is misdirected in

challenging Plaintiffs’ standing, which is established at the time the suit is filed, and in claiming

that the only “Exception to Mootness Doctrine” is the capable of repetition doctrine.

(Memorandum at 8, § D heading, p. 9).

        As set out more fully in Plaintiffs’ Motion for Partial Summary Judgment, despite

Defendant’s actions to moot the case, this Court retains jurisdiction to address the policies

challenged by this suit. Those policies require no contemporaneous notice or pretermination

opportunity to respond when depriving claimants of their property interest in unemployment

compensation. Those policies were unchanged by the pandemic and remain unchanged to this

date.

                                       Respectfully submitted,


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                                   CERTIFICATE OF SERVICE
        I hereby certify that on November 23, 2021, I electronically filed the foregoing and the
attached memorandum with the Clerk of Court by using the CM/ECF system, which will send a
notice of electronic filing to the following:

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        I further certify that I mailed the foregoing document and the notice of electronic filing
by first-class mail to the following non-CM/ECF participants:
                       none; all parties are represented by counsel participating in ECF.

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